Case 2:01-cr-202121`BBTE>E UN¢"UEDISEUIBSHDMBI?IO€OBRQE 1 of 2 Page|D 26
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION _ /)/Vf

UNITED STATES OF AMERICA *
*
vs. *
*
JAMES HUT'I"O * CR. NO.

 

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On April 19, 2005, James Hutto appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. The defendant had previously been advised
of his rights under Fed.R.Crirn.P. 5 and 32.1(a), and counsel Was appointed

At this hearing, the defendant Was released on bond and, therefore, a preliminary hearing on
the violation Was not required _S_e_e United States v. &ut_o, 531 F.2d 842, 846 (7th Cir. 1976) and

United States v. Tucker, 524 F.Zd 77, 78 (5th Cir. 1975), M denied, 424 U.S. 966, 96 S.Ct. 1462,

 

47 L.Ed.Zd 733 (1976).
Aecordingly, defendant, James Hutto is held to a final revocation hearing before United
States Distn`ct Judge Bernice B. Donald. lt is presumed that the District Judge Will set this matter

for a revocation hearing pursuant to Fed.R.Crirn.P. 32. l (b), (c), and Will see that appropriate notices

are given.
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TU M. PHAM'
UNITED srArEs MAGISTRATE IUDGE

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with Rule 55 end/or 32{'0) FRCrP on _'f *e§ U

 

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This notice confirms a copy of the document docketed as number 19 in
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Honorable Bernice Donald
US DISTRICT COURT

